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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                  Case No.: 1:21-cv-24274

 DAWN MICHELLE FRENCH,

        Plaintiff,
 v.

 LIFE INSURANCE COMPANY OF
 NORTH AMERICA,

       Defendant.
 ____________________________________/

                     AMENDED COMPLAINT FOR DISABILITY BENEFITS

        Plaintiff, Dawn Michelle French, files her Amended Complaint against Defendant, Life

 Insurance Company of North America, and says:

                              I.     JURISDICTION AND VENUE

        1.      Plaintiff’s claims are filed pursuant to the Employee Retirement Income Security

 Act of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq. Jurisdiction exists pursuant to 29 U.S.C. §

 1132(f) and venue is proper pursuant to 29 U.S.C. § 1132(e).

                                        II.     PARTIES

        2.      Plaintiff, Dawn Michelle French (“Ms. French”), is a citizen of the United States

 and was at all times relevant a participant of the short-term disability policy (“STD policy”) and

 the long-term disability policy (“LTD policy”) at issue. Defendant, Life Insurance Company of

 North America, (“Defendant”), is the insurer and claims administrator of the STD policy and LTD

 policy at issue, is a foreign corporation authorized to do business in Florida and can be found in

 the Southern District of Florida.
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                                           III.   FACTS

        3.      At all times material to this action there was in full force and effect a group

 insurance policy for short-term disability and long-term disability benefits constituting binding

 contract of insurance between the parties. The disability insurance policies were underwritten and

 administered by Defendant.

        4.      At all times material, Defendant operated under an inherent structural conflict of

 interest because of its dual role as administrator of claims all while serving as the insurance

 company paying benefits out of its own assets.

        5.      Ms. French was employed with Fidelity Investments as an actuary. By virtue of her

 employment with Fidelity Investments Ms. French was an eligible participant of the STD policy

 and LTD policy at all times material to this action.

        6.      The purpose of the STD policy and LTD policy was to provide Ms. French a

 monthly benefit in the event that she became disabled.

        7.      The STD policy defines Disability, in pertinent part, as follows:

             “Disability means that you are under the continuous care of a Physician, and
             you cannot perform one or more of the essential duties of your own occupation
             because of an accidental bodily injury, a sickness, a mental illness, substance
             abuse, or pregnancy.”

        8.      The LTD policy defines Disability, or Disabled, in pertinent part, as follows:

             The Employee is considered Disabled if, solely because of Injury or Sickness,
             he or she is: (1) unable to perform the material duties of his or her Regular
             job; and (2) unable to earn 80% or more of his or her Indexed Earnings from
             working in his or her Regular Job.

             After Disability Benefits have been payable for 24 months, the Employee is
             considered Disabled if solely because of Injury or Sickness, he or she is: (1)
             unable to perform the material duties of his or her Regular Occupation; and
             (2) unable to earn 80% or more of his or her Indexed Earnings from working
             in his or her Regular Occupation.


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               After Disability Benefits have been payable for 48 months, the Employee is
               considered Disabled if solely due to injury or Sickness, he or she is: (1) unable
               to perform the material duties of any occupation for which he or she is, or may
               reasonably become qualified based on education, training, or experience; and
               (2) unable to earn 60% or more of his or her Indexed Earnings.

         9.       Ms. French has suffered, and continues to suffer, from myalgic encephalomyelitis

 (ME/CFS), chronic clostridioides difficile infection, helicobacter pylori, small bowel bacterial

 overgrowth syndrome, hypothyroidism, diarrhea and inability to tolerate food. Ms. French has lost

 over 25 pounds since falling ill.

         10.      Ms. French is prevented from performing the material duties of her regular

 occupation, or any occupation, on a full-time basis due to her disability; Ms. French is disabled

 under the terms of the STD policy and the LTD policy.

         11.      Ms. French was forced to discontinue working on or around July 17, 2020, due to

 her disabling conditions.

         12.      In accordance with the procedures set forth by the STD policy, Ms. French notified

 Defendant of her disability.

         13.      By letter dated September 17, 2020, Defendant denied Ms. French’s claim for short-

 term disability benefits.

         14.      Ms. French timely appealed Defendant’s decision to deny her short-term disability

 benefits on or about October 21, 2020.

         15.      Defendant denied Ms. French’s appeal for short-term disability benefits by letter

 dated April 6, 2021. Defendant deemphasized medical evidence favoring disability and instead

 relied on the views of its own medical consultants.

         16.      By letter dated September 16, 2021, Ms. French submitted her claim for long-term

 disability benefits.

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           17.   By letter dated, October 5, 2021, Ms. French submitted additional medical evidence

 in support of her long-term disability claim.

           18.   By letter dated October 8, 2021, Ms. French submitted additional medical evidence

 and requested a status update on her long-term disability claim.

           19.   By letter dated October 19, 2021, Ms. French again requested a status update.

           20.   By letter dated October 21, 2021, Defendant requested additional information from

 Ms. French’s primary care physician. Although Ms. French never claimed to be disabled due to a

 mental health condition, Defendant also requested information from her psychologist.

           21.   By letter dated October 22, 2021, Ms. French provided the additional information

 from Ms. French’s primary care physician that was requested in Defendant’s October 21, 2021

 letter.

           22.   By letter dated November 1, 2021, Ms. French notified Defendant that its decision

 on her long-term disability claim was past the 45-day benefit determination deadline under ERISA.

           23.   By letter dated November 12, 2021, Ms. French notified Defendant a second time

 that its decision was past-due and she demanded notification of its benefit determination. Ms.

 French also reminded Defendant that her disability was due to ME/CFS, a physical condition, and

 as such, she was declining to provide office notes from her psychologist.

           24.   By letter dated November 19, 2021, Defendant again requested information from

 Ms. French’s primary care physician and psychologist. Defendant failed and refused to

 acknowledge that it was in violation of the ERISA deadline.

           25.   By letter dated November 23, 2021, Ms. French notified Defendant a third time that

 the deadline to render a decision had passed and cautioned Defendant that if it “continue[d] to

 violate ERISA claim procedures by not promptly communicating a decision, Ms. French will have

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 to file suit on December 2, 2021.”

        26.     Defendant ignored Ms. French’s three (3) letters dated November 1, 2021,

 November 19, 2021, and November 23, 2021, advising Defendant that it was in violation of ERISA

 by not timely making a benefit determination.

        27.     Defendant has failed and refused to render a long-term disability benefit decision

 in the time period allowed under ERISA.

        28.     Ms. French’s long-term disability claim is deemed denied by Defendant’s failure

 to render a timely decision.

        29.     In denying Ms. French’s claim for short-term disability benefits, Defendant

 deemphasized medical evidence favoring disability and instead relied on the views of its own

 medical consultants. Defendant further refused to approve Ms. French’s long-term disability

 benefits after she provided proof of disability within the timeframe allotted by ERISA law.

        30.     The denial of Ms. French’s disability benefits constitutes a breach of the disability

 insurance policies’ terms, and the decision was wrong and arbitrary and capricious.

        31.     Defendant’s denial of Ms. French’s short and long-term disability benefits breached

 the fiduciary duties owed to Ms. French under ERISA. Defendant further failed to discharge its

 duties in respect to discretionary claims processing solely in the interests of Ms. French as a

 participant of the STD policy and LTD policy.

                 IV.     COUNT I: SHORT-TERM DISABILITY BENEFITS

        Plaintiff incorporates the allegations contained in Paragraphs 1 through 7, and 9 through

 15, and 29 through 31 as if fully stated herein and says further that:

        32.     Plaintiff is entitled to certain benefits of the policy consisting of past short-term

 disability benefits including prejudgment interest, retroactive to the day benefits were denied


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 pursuant to 29 U.S.C. §1132(a)(1)(B).

        33.     Plaintiff is entitled to the benefits identified herein because:

                a. the benefits are permitted benefits under the STD policy;

                b. Plaintiff has satisfied all conditions to be eligible to receive the benefits;

                c. Plaintiff has not waived or otherwise relinquished her entitlements to the
                   benefits.

        34.     Defendant has refused to pay the benefits sought by Ms. French, ignoring the

 medical records and clear opinions of numerous physicians.

                  V.       COUNT II: LONG-TERM DISABILITY BENEFITS

        Plaintiff incorporates the allegations contained in Paragraphs 1 through 6, and 8 through 11

 and 16 through 31 as if fully stated herein and says further that:

        35.      Plaintiff is entitled to certain benefits of the policy consisting of past long-term

 disability benefits including prejudgment interest, retroactive to the day benefits were terminated

 pursuant to 29 U.S.C. §1132(a)(1)(B).

        36.     Plaintiff is entitled to the benefits identified herein because:

                 a. the benefits are permitted benefits under the LTD policy;

                 b. Plaintiff has satisfied all conditions to be eligible to receive the benefits;

                 c. Plaintiff has not waived or otherwise relinquished her entitlements to the

                       benefits.

        37.     Defendant has refused to pay the benefits sought by Ms. French, ignoring the

 medical records and clear opinions of her treating physicians.

                             VI.    COUNT III: ATTORNEY’S FEES

        Plaintiff incorporates the allegations contained in Paragraph 1 through 37 as if fully stated

 herein and says further that:

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           38.     To the extent that Defendant violated any provisions of Subchapter I of Title 29,

 Chapter 18 of the United States Code, Plaintiff is entitled to reasonable attorney’s fees and costs

 of this action pursuant to 29 U.S.C. §1132(g)(1).

                                    VII.    RELIEF REQUESTED

           Plaintiff incorporates the allegations contained in Paragraph 1 through 38 as if fully stated

 herein and says further that:

           39.     As a result of the acts and/or omissions of Defendant as alleged herein, Defendant

 owes Plaintiff unpaid long-term disability benefits, plus interest.

           40.     Defendant is also liable for Plaintiff’s attorney’s fees and the costs of litigation in

 an amount to be proven at trial.

           41.     Defendant is also liable to place Plaintiff in the position she would have enjoyed

 under the disability insurance policies had she not been wrongfully denied benefits by Defendant.

                                    VIII. PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, Dawn Michelle French, prays for a judgment against Defendant

 for the relief as plead herein and for such other relief as this Honorable Court deems just and

 proper.

                               Respectfully submitted this 10th day of December 2021.
                                      /s/ Edward P. Dabdoub
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